 Case 1:18-cr-00083-TSE Document 291 Filed 08/29/18 Page 1 of 3 PageID# 6485



                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

 UNITED STATES OF AMERICA

               v.
                                            Crim. No. 1:18-cr-83 (TSE)
 PAUL J. MANAFORT, JR.,


               Defendant.


MOTION TO EXTEND DATE OF GOVERNMENT’S NOTICE OF INTENT TO RETRY
     OR DISMISS REMAINING COUNTS OF SUPERSEDING INDICTMENT

       The United States of America, by and through Special Counsel Robert S. Mueller, III,

hereby files this motion to extend the date by which the government must notify the Court whether

it intends to retry or dismiss any or all of Counts 11, 13, 14, 24, 26, 28, 29, 30, 31, and 32 of the

Superseding Indictment. On August 21, 2018, a jury found the defendant guilty of eight counts of

the Superseding Indictment, and was unable to reach a unanimous verdict on ten counts – Counts

11, 13, 14, 24, 26, 28, 29, 30, 31, and 32. See Doc. 280. Immediately following receipt of the

jury’s verdict in this case, counsel for the defendant orally moved the Court to extend for thirty

days the deadline for filing post-trial motions on the eight guilty counts. The government did not

oppose the defendant’s motion for additional time. See Doc. 273.

       On August 22, 2018, the Court ordered the government to file notice by August 29, 2018,

on whether the government intends to retry or dismiss any or all of the remaining ten counts on

which the jury did not reach a unanimous verdict. See Doc. 264. Because the defendant’s post-

trial motions have not been filed or ruled on, the government does not at this time have sufficient

information to make an informed decision on whether it will seek retrial of the remaining counts.

The government, accordingly, respectfully requests that the Court extend the deadline for the

                                                 1
Case 1:18-cr-00083-TSE Document 291 Filed 08/29/18 Page 2 of 3 PageID# 6486



government to file notice about the ten remaining counts to one week after the Court has ruled on

defendant’s post-trial motions.

       The United States has consulted with counsel for the defendant and they do not object to

the government’s motion. A proposed order is attached to this motion.



                                                    Respectfully submitted,

                                                    ROBERT S. MUELLER, III
                                                    Special Counsel

Dated: August 29, 2018                              /s/
                                                    Andrew Weissmann
Uzo Asonye                                          Greg D. Andres
Assistant United States Attorney                    Brandon L. Van Grack
Eastern District of Virginia                        Special Counsel’s Office
                                                    U.S. Department of Justice
                                                    950 Pennsylvania Avenue NW
                                                    Washington, D.C. 20530
                                                    Telephone: (202) 616-0800
                                                    Attorneys for United States of America




                                               2
 Case 1:18-cr-00083-TSE Document 291 Filed 08/29/18 Page 3 of 3 PageID# 6487



                                CERTIFICATE OF SERVICE

       I hereby certify that on the 29th day of August, 2018, I will cause to be filed electronically

the foregoing with the Clerk of Court using the CM/ECF system, which will then send a

notification of such filing (NEF) to the following:

Thomas E. Zehnle (VA Bar No. 27755)
Law Office of Thomas E. Zehnle
601 New Jersey Avenue, N.W., Suite 620
Washington, D.C. 20001
tezehnle@gmail.com

Jay R. Nanavati (VA Bar No. 44391)
Kostelanetz & Fink LLP
601 New Jersey Avenue, N.W., Suite 620
Washington, D.C. 20001
jnanavati@kflaw.com




                                                            /s/
                                                      Uzo Asonye
                                                      Assistant United States Attorney
                                                      U.S. Attorney’s Office
                                                      Eastern District of Virginia
                                                      2100 Jamieson Avenue
                                                      Alexandria, VA 22314
                                                      uzo.asonye@usdoj.gov
                                                      Phone: (703) 299-3700
                                                      Fax: (703) 299-3981
                                                      Attorney for the United States of America




                                                 3
